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UNVITEP STATES DISTRICT COURT

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FOR THE MORTHERV DISTRICT OF NEW YORK
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FET) TIOWE R,

)CRiM. WO. 92-CR-3F
-VS- CIVIL WO. 5: 00-CV-86KwEn)

APPEAL No. 01-2
FILED <

RESPONDENT: J.

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UVITED STATES OF ANERICA,

   

 
 

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COPY OF SP20T/ON ANP REQUEST TO SERVE
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DUE TO EXTRAORDINARY CIRCUMSTANCES

(OF USP-Fellock’s LwstipuTiowvAl Lock Down},
TO FREVEWT PFUNDAAEN TAL /IIISCA RRIPEE

OF JUSTICE

 

Te THE HovoRABLE JuPEE OF SR/D CoukT7;

| AY ZV LEASE TAS CouRT:
_ ; Case 5:00-cv-00869-DNH - Document 113 Filed 03/13/03 Page 2 of 7

2 COMES SVOW, FET/TIONER , Ja wk £7. LaerRsor,
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| oo WHEREFORE, PIR. PAvipsanr, PRO-SE& ASSERTS
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CERTIFICATE OF SERVICE

I, JOlme A- VAVIDSIM, PRIA—SE, SE, hereby certify that I have served a true
and correct copy of the foregoing: _

—_URGEWT MOTION REQUE STIVG LEAVE TO PROCEEP

UITH_ADDITIOWAL TAEES, OME COPY OF (1IOT/ON |.
_. AnD REQUEST TO SERVE. °F; HE CWECMMEMT WITH
____ A COPY OF Spmé, DUE TOE XTRAORDIWVARY.. 5 To
__.. PREVENT A_Fu NDA ENTAL DUS CBRRIACE OF TUSHICE

 

Which is deemed filed at the time it was delivered to prison authorities for forwarding to
the court, Houston vs. Lack, 101 L.Ed.2d 245 (1988), upon the court and parties to
litigation and/or his/her attorney(s) of record, by placing same in a sealed, postage
prepaid envelope addressed to:

MR. ToHW G- Pur can, Eg.

EXECUTIVE ASSISTANT U-S . AIT OR MEY
GOO FEDERAL BuitPve

P.O. Box-F1LIEF

SYRACUSE, VV. LEZ26L-7LIF

and deposited same in the United States Postal Mail at the United States Penitentiary,
Pollock, Louisiana.

Signed on this FG ___dayof dawuaky __, 2002.

Respectfully Submitted,

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acne WL desbon

JAIMIE A- DR vids 0/4 Pho-SE-

REG. NO. 32593-05-3 (6-4)

USP-Pollock
PO BOX-2099
Pollock, LA 71467
